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 4   tdake@cox.net

 5   Terry A. Dake - 009656

 6   Attorney for Trustee

 7                      IN THE UNITED STATES BANKRUPTCY COURT

 8                             FOR THE DISTRICT OF ARIZONA

 9   In re:                              )     In Chapter 7 Proceedings
                                         )
10   GREGG SETH REICHMAN;                )     Case No. 0:10-BK-24374-RJH
                                         )
11                            Debtor.    )
                                         )
12
                                NOTICE OF ABANDONMENT
13                       AND NOTICE OF BAR DATE FOR OBJECTIONS

14               PLEASE TAKE NOTICE that the trustee intends to abandon the

15   following property pursuant to 11 U.S.C. §554 and Bankruptcy Rule

16   6007(a):

17
                 All right, title and interest of the bankruptcy
18               estate in GSG Properties, LLC and Active Finance
                 Group, LLC.
19

20               Any objections to this proposed abandonment must be filed on

21   or before December 13, 2010.       Objections must be filed with the Clerk of

22   the Bankruptcy Court, 230 N. First Avenue, Ste. 101, Phoenix, Arizona

23   85003-1706, and a copy of such objection must be mailed to counsel for

24   the trustee, whose name and address appears below.            If an objection is

25   timely filed and served, then the Court will conduct a hearing to

26   resolve the matter.       If no objection is timely filed and served, the

27   asset(s) shall be abandoned without further notice or hearing.

28               The name and address of counsel for the trustee is as follows:

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 1
                      Terry A. Dake, Esq.
 2                    TERRY A. DAKE, LTD.
                      11811 North Tatum Boulevard
 3                    Suite 3031
                      Phoenix, Arizona 85028-1621
 4
                 DATED November 27, 2010.
 5

 6                                       TERRY A. DAKE, LTD.

 7
                                         By    /s/ TD009656
 8                                            Terry A. Dake – 009656
                                              11811 North Tatum Boulevard
 9                                            Suite 3031
                                              Phoenix, Arizona 85028-1621
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